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UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF NEW YORK

__________________________________________________ X
)
RADIO TELEVISION OF SERBIA, DUSAN VOJVODIC, AND )
MIL;NA TRISIC ) C.A. No. i?-cv~6886
)
Plaintiffs, )
) COMPLAINT
v. )
}
vice MEDIA LLC, }
)
Defendant. )
X

Radio Television of Serbia (“RTS”), Dusan Vojvodic (“Vojvodic)
rand Milina Trisic (“Trisic” and together with RTS and Vojvodic,
“Plaintiffs”), by their attorneys, Lebowitz Law Office, LLC, bring
this complaint against Vice Media LLC (“Vice” or “Defendant"), and

allege as follows:

NATURE OF ACTION

l. This case concerns Defendant's intentional, unauthorized,
and continued use of multiple segments from Plaintiffs’ copyrighted
documentary film in violation of U.S. and foreign copyright laws.
Defendant has used, and continues to use, segments lifted and copied
from Plaintiffs’ documentary film and edited directly into defendant’s
own film. Defendant has uploaded its infringing film to its channels
on YouTube, and made the infringing film available for continuous
viewing on the internet in this District and around the world. This
conduct persists despite Defendant having no authorization from

Plaintiffs to use its copyright protected film -- and despite

 

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Plaintiffs repeated demands that Defendant cease and desist from such
conduct.

2. Plaintiffs bring this action against Defendant for direct
copyright infringement of Plaintiffs’ copyrights in violation of the
Copyright Act Of 1976, as amended, 17 U.S.C. §§ lOi et seq. (the
“Copyright Act”), the Berne Convention for the Protection of Literacy
and Artistic Works (the “Berne Convention”), as adopted by the
Copyright Act, and in violation of the copyright laws of at minimum,
the twenty-one (21) foreign countries identified below, where
Defendant also violated Plaintiffsimcopyrights by broadcastingrr¢¢ W
Defendant’s infringing film, within these countries (the “Foreign

Copyright Laws”). Plaintiffs seek damages for Defendant's

infringements and an injunction to prevent further unlawful use.

PA.R.TIES

3. Plaintiff RTS is organized and existing pursuant to the
laws of the Republic of Serbia, and is the public broadcaster in the
Republic of Serbia. RTS broadcasts and produces news,r drama, and
sports programming through radio, television and the Internet.

4. Plaintiff Vojvodic is a citizen of the Republic of Serbia,
and has been employed with RTS since 1998 as a journalist and
correspondent department editor, and is the author and editor of
numerous documentary movies, films and series which were produced and
broadcast on RTS.

5. Plaintiff Trisic is a citizen of the Republic of Serbia,

nnd___n__n_n_ _bn@n nnnleynd With RT_S_sinn_n_______?_@@€l__nS___n journalist and ,,nd,itnr,

 

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and has worked as an author and editor of numerous documentary, short
movies and TV movies and series which were produced and broadcast on
RTS.

6. Upon information and belief, defendant Vice is a Delaware
limited liability company, which conducts business in the United
States and giobally, from its headquarters in Williamsburg, New York.
Vice is a digital media and broadcasting company which develops youth

and young adult focused digital programming.

JURISDICTION AND VENUE

7. rThis Court has exclusive subject matter jurisdiction over fit

this action under 28 U.S.C. § 1331, insofar as it raises questions
under the law and treaties of the United States.

8. This Court has subject matter jurisdiction over this action
under 28 U.S.C. § 1331 and 28 U.S.C. § l338(a) insofar as this is a
civil action against Defendant for their acts of copyright
infringement in violation of the United States Copyright Act, 17
U.S.C. §§ 101 et seg.

9. Defendant is subject to personal jurisdiction of this Court
and venue is proper in this District under 28 U.S.C. § i391(b) and 28
U.S.C. § l400(a) in that the acts of infringement complained of herein
occurred in this Judicial District and the Defendant resides, may be

found and/or transacts business in this District.

 

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FACTUAL BACKGROUND

Plaintiffs’ Copyright

 

lO. Pink Panteri, the documentary film (“Pink Panteri”) is a
documentary movie on the exploits of the “Pink Panthers” - the
infamous, international jewel thief network, which arose in the
aftermath of the breakup of the former Yugoslavia, and is comprised of
Serbs from the Balkans - Serbia, Montenegro, Bosnia, and Croatia. The

Pink Panthers, so named by Interpol, were responsible for some of the

most coordinated, daring and high-profile jewelry heists which have

taken place in multiple countries across Europe, and across
continents, and which have totaled several hundreds of millions of
dollars in stolen jewels.

11. Pink Panteri is comprised of two parts, 43 minutes each,
and was broadcast for the first time in February 2011 on RTS. Pink
Panteri represents the most viewed documentary film ever broadcast on
the national public service Radio Television of Serbia.

12. Plaintiff Vojvodic is the editor, screenwriter and com

director of Pink Panteri.

13. Plaintiff Trisic is the co-director and film editor of Pink
Panteri.
14. Plaintiff RTS is the producer, distributor, and broadcaster

of Pink Panteri.
15. Pink Panteri was a product of plaintiff Vojvodic’s

comprehensive and in-depth research into the Pink Panther's gang

 

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operations, which he conducted over the course of two-years (2009 -
2011), and across multiple cities (Belgrade, Lion, Paris_and London).

16. In addition to erclusive interviews with Interpol, members
of the special French police force and various security services,
plaintiff Vojvodic also obtained from these same sources, copies of
security video recordings of actual Pink Panther robberies, previously
unreleased to members of the media, and never before seen by members
of the general viewing public.

17. Plaintiffs Vojvodic and Trisec reviewed these security
tapes, carefully selected scenes from some ofpthe hint hanthers’
actual robberies, and then filmed, directed and edited documentary
style re-enactments of these actual robberies, for inclusion in Pink
Panteri (the “Re~Enactments”}.

18. The Re-Enactments were the most expensive elements in Pink
Panteri. The Re-Enactments were filmed in real-time, and according to
the Pink Panthers’ exacting standards, requiring extended direction,
filming and editing, and took over 20 days for preparations and
filming. A jewelry shop was re~recreated on a rented premises, glass
and other props were broken several times during filming, and the
production crew alone had over 50 people.

19. Pink Panteri can be viewed, on demand, on the official
website of RTS, at the following URL:
http://www.rts.rs/page/tv/sr/story/Z0/RTS+1/854364/Pink+panteri+(drugi

+deo).html.

 

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20. Pink Panteri prominently includes a watermark, displayed
for the entirety of the movie, and which provides a © notice that Pink
Panteri is copyright protected.

21. Furthermore, the RTS website provides a summary of Pink
Panteri, including the work which went into creating the movie: a
description of duration and methods used to collect the source
material, including the security video of real Pink Panthers'
robberies, and the documentary style Re-Enactments of actual Pink
Panthers' robberies (the “RTS Summary”).

22. ln the 818 8ummary, Plaintiffs Vodvojac is identified as
the screenwriter, editor and director of Pink Panteri, and Trisic is
identified as editor and director.

23. In the closing credits for Pink Panteri, Plaintiffs
Vodvojac is identified as the screenwriter, editor and director of
Pink Panteri, and Trisic is identified as editor and director.

24. Plaintiffs were all citizens of the Republic of Serbia on
the date Pink Panteri was first created and first published. Serbia
and the United States are both signatories to the Berne Convention.
As citizens of a signatory to the Berne Convention, Plaintiffs are
entitled to the same copyright protections that the Copyright Act and
the Foreign Copyright Laws provide to citizens of those respective
countries. Further, pursuant to the Berne Convention,r Plaintiffs are
not required to obtain copyright registration for their copyrighted
work - Pink Panteri - from the United States Copyright Office or any

other copyright office where defendant Vice is located or broadcasts

 

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its content, prior to commencing legal action for copyright
infringement under the Copyright Act or the Foreign Copyright Laws.

25. The copyright law of the Republic of Serbia is set forth in
The Law of Copyright and Related Rights (Official Gazette of RS
104/2009, 99/2011 from 27.12.2011 and 119/2012) (“Copyright Law of
Serbia”).

26. Pursuant to Article 8 of the Copyright Law of Serbia,
Plaintiffs Vojvodic and Trisic, as the authors of Pink Panteri, held
the moral and pecuniary rights in Pink Panteri since the moment it was
created. in

27. Plaintiffs Vojvodic and Trisic were both employed by RTS at
the time they created Pink Panteri, and at the time Pink Panteri was
first published or broadcast on RTS in 2011.

28. As Pink Panteri was a work of authorships created by
Plaintiffs Vojvodic and Trisic while employees of RTS, then pursuant
to Article 98 of the Copyright Law of Serbia, RTS held the pecuniary
rights to the exploitation of Pink Panteri for the period of five
years from the completion of that work.

29. Pursuant to a provision in the employment agreements of
Plaintiffs Vojvodic and Trisic, the pecuniary rights in the Pink
Panteri was extended to fifty years from the date of its completion.

30. Together Plaintiffs RTS, Vovodic and Trisic own all of the
collective pecuniary and moral rights in Pink Panteri which exist
under the Copyright Law of Serbia,r from the date Pink Panteri was

created.

 

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31. As set forth in Articles 19 to 36 of the Serbian Copyright
Law, Plaintiffs' pecuniary rights in Pink Panteri includes, but is not
limited to, the exclusive rights:
a. to commercial exploitation of Pink Panteri, including any
work resulting from a modification of Pink Panteri
(Article 19);
b. to remuneration for the exploitation of Pink Panteri by
any other person(s) not authorized by law or contract to

exploit Pink Panteri (Article 19);

c. to authorize or prohibit fixation or reproduction of Pink
Panteri, in any manner, shape or form (Article 20);

di to place in circulation copies of Pink Panteri (Article
21);

e. to permit or prohibit the broadcasting of Pink Panteri by
wire or wireless transmission of radio or television
signals intended for public reception (Article 28);

f. to permit or prohibit the re-broadcasting of Pink Panteri
(Article 29};

g. to permit or prohibit communication of Pink Panteri to
the public by wire or wireless means, including on demand
(Article 30); and

h. to permit or prohibit the broadcast or re-broadcast of
Pink Panteri, simultaneously to an audience found in

public places, such as train stations,r restaurants,
waiting rooms, etc.

Defendant’s Violation of Plaintiffs’ Copyright

32. Vice is a global youth media company operating an original
online video destination from its online portal, Vice.com, as well as
an international network of digital channels, a television production
studio, a magazine, a record label, an in-house creative services
agency and a book-publishing division.

_m83. _Vice’s digital channels include §he Creators Project,

 

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dedicated to the arts and creativity, Motherboard, covering cultural
happenings in technology, and Noisey, a music discovery channel.

34. Vice broadcasts original English language content from
servers located in the United States, to viewers located in this
District and around the globe, from its YouTube channel found at
https://www.youtube.com/user/vice (“Vice Channel”).

35. Vice also broadcasts translated, sub-titled or overdubbed
foreign language versions of its original English language content,
from those same servers within the United States, to targeted Vice
communities around the globe, includingj… 7

a. Vice Japan (http://jp.vice.com/};

b. Vice Australia (https://www.vice.com/en_au);
c. Vice Belgium (https://www.vice.com/be);

d. Vice hrazil {https://www.vice.com/ptmbr);

e. Vice Canada(https://www.vice.com/en_ca);

f. Vice Czechoslovakia (https://www.vice.com/cs);
g. Vice Columbia (https://www.vice.com/es_co);
h. Vice Denmark (https://www.vice.com/da};

i. Vice Spain (https://www.vice.com/es};

j. Vice France, (https://www.vice.com/fr);

k. Vice Greece (https://www.vice.com/gr);

l. Vice ltaly (https://www.vice.com/it);

nn Vice Mexico (https://www.vice.com/es_mx);

n. Vice Netherlands (https://www.vice.com/nl);
o. Vice Sweden (https://www.vice.com/sv);

.p. Vice Austriamihttps://www-vice.com/deiat);

 

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q. Vice Romania (https://www.vice.com/pl);
r. Vice Portugal (https://www.vice.com/pt);
s. Vice Russia (https://www.vice.cOm/ru); and
t. Vice United Kingdom (https://www.vice.com/en_uk).
(collectively, the “Vice Foreign Channels”).
36. ln September 2014, Vice broadcast an advertisement included

excerpts of the documentary films scheduled to appear in the upcoming

season 2 of “Vice Reports s documentary films” (the “Vice Reports
Trailer”).
37. The Vice Reports Trailer can be viewed at the following

link on the Vice Channel:
https://www.youtube.com/watch?v:quwerPPBO.
38. The Vice Reports Trailer contains an excerpt from the soon

to be broadcast Vice documentary on the Pink Panthers titled “Europe‘s

Most Notorious Jewel Thieves: VICE Reports” (the “Vice Movie”). (See
Exhibit A.)
39. Near the conclusion of the Vice Reports Trailer there is a

pop~up link with the instruction to “Click to watch the Pink Panther
jewel gang in Episode l”. (See Exhibit B.)
40. The description below the Vice Reports Trailer states:
The new season of VICE Reports has begun, and it's about

to blow everyone's collective minds. Watch Episode l
now on VICE.com: http://bit.ly/an9610

 

There's a lot of wild, crazy, and terrifying stuff out
there in the world. ln our second season of VICE Reports,
we'll take you to the front lines to see the faces of
those directly affected. We travel with the Pink Panther
jewel thieves as they heist diamonds all across
Europe...

` (sé`"é exhibit c.}

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41. In September 2014, Vice broadcast the Vice Movie on the
“Vice Channel.”

42. On Vice.com, the heading “These are Pink Panthers, the
Balkan Diamond Thieves”, provided a link to the Vice Movie on the Vice
Channel.

43. The Vice Movie was extensively promoted by Vice on all of
its social media platforms, including Twitter, Facebook, and
lnstagram. (See Exhibit D.)

44. The Vice Movie included multiple, unauthorized takings and

copying of copyrighted portions of Pink Panteri. Vice’s unauthorized “"""

taking included the wholesale copying of extended segments of Pink
Panteri, including the documentary style Re-Enactments of Pink
Panthers' robberies.

45. Examples of the documentary Re-Enactments which Vice
impermissibly copied from Pink Panteri for inclusion in the Vice Movie
can be seen in the side by side comparison of still images from each
movie,r as shown in attached Exhibits E, F, G, H and l.

46. Vice also copied the documentary surveillance recordings of
Pink Panthers’ robberies which were collected during Vodvojic’s two-
year period of research on Pink Panteri, and which are exclusive to
Pink Panteri.

47. The total duration of all copied parts from Pink Panteri
for inclusion in the Vice Movie is nearly half a minute.

48. Upon information and belief, Vice's unauthorized copying of
the protected elements of Pink Panteri occurred within the United

'¢state`§.`

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49. Upon information and belief, Vice uploaded the Vice Movie
- containing Plaintiffs' copyrighted content - to the Vice Channel,
for broadcast and distribution within this District and around the_
globe.

50. Upon information and belief, Vice also uploaded the Vice
Movie - containing Plaintiffs' copyrighted content s to the Vice
Foreign Channels, for broadcast and distribution within this District
and around the globe.

51. Upon information and belief, the Vice Channel and Vice
Foreign Channels are hosted on the servers of YouTube, which arennmr
located in the United States.

52. Upon information and belief, the Vice Channel and Vice
Foreign Channel broadcast the Vice Movie to, among other countries,
Serbia, Japan, Australia, Belgium, Brazil, Canada, Czechoslovakia,r
Columbia, Denmark, Spain, France, Greece, ltaly, Mexico, Netherlands,

Sweden, Austria, Romania, Portugal, Russia, and United Kingdom.

Plaintiffs Prior Claims of Infringement

 

53. In or about December 2015, Plaintiffs, through counsel,
advised Vice that their broadcasts of portions of Plaintiffs
copyrighted Pink Panteri within the Vice Movie constituted copyright
infringement, and demanded compensation for Defendant's unauthorized
use, as well as proper attribution for Plaintiff Vojvodic and Trisic,
as authors of Pink Panteri.

54. The General Counsel for Vice responded directly to
Plaintiffs’ Serbian Counsel, but the parties were unable to reach an

agreement.

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55. The parties entered into a tolling agreement, effective
September 26, 2017 (the “Tolling Agreement”}. A copy_of the Tolling

Agreement is annexed as Exhibit J.
56. The Tolling Agreement provides in pertinent part:

All statutes of limitation, similar limitations periods,
notice periods, and any purported defenses based upon
the passage of time including, without limitation,
waiver, laches and estoppel with respect to any claims,
causes of action, demands, rights, actions, suits, or
proceedings arising from, relating to, or concerning the
copyright Claimants claims with respect to Vice’s
alleged use and incorporation of portions of the
entitled “Pink Panthers” are tolled and suspended as
of, and shall cease to run from, the Effect Date hereof,
to and including November 26, 2017 (the “Tolling
PEriOd”). …_ __ _M_W"__Mm_ ___

57. Vice continues to broadcast the Vice Movie, in three (3)
parts, on its Vice Japan channel, found here
(https://www.youtube.com/watch?v=szosB9dl2E&index=l&list=PLyheH-
sHmeaN-vSYcX4Dy8Hsznd_lQiY); here
(https://www.youtube.com/watch?v=mG_JDEWNAcM&list=PLyheH-sHmeaN-

vSYcX4Dy8Hsznd_l4iY&index=2); and here

(http://jp.vice.com/news/europes-most-notorious-jewel-thieves-3). See
Exhibit K)
58. Additionally, Vice continues to broadcast the Vice Movie on

its Vice Russian language channel, located at
https://www.youtube.com/watch?v=ZNBZBEnPMrY. (See Exhibit L)

59. Upon information and belief, Vice continues to broadcast
the Vice Movie on other Foreign Vice Channels, and possibly other
outlets.

60. Portions of Pink Panteri are still being broadcast for

fadvertising purposes and are incorporated into the Vice Reports

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{Trailer), which can be found at:

https://www.youtube.com/watch?v:quwerPPBO.

Count I

(COPYRIGHT INFRINGEMENT IN VIOLATION OF THE
UNITED STATES COPYRIGHT ACT)

61. Plaintiffs repeat and reallege all of the prior
allegations.

62. Defendant Vice copied and broadcast copyright protected
elements of Plaintiffs'r Pink Panteri without Plaintiffs consent or
authorization.

63. Defendant Vice knew or had reason to know that: (i)
Plaintiff's Pink Panteri was protected by the Copyright Act; (ii)
Defendant was not authorized to copy or broadcast elements from
Plaintiffs copyright protected Pink Panteri without Plaintiffs‘
consent; (iii) Defendant did not have Plaintiffs’ consent to copy and
broadcast elements of Plaintiffs' copyright protected Pink Panteri;
and (iv) Defendant's actions constituted copyright infringement under
the Copyright Act.

64. Defendant has knowingly and willfully engaged in
unauthorized copying and broadcast of elements of Plaintiffs’ Pink
Panteri with the intent to wrongfully benefit from the labor and
intellectual capital that Plaintiffs invested in the creation of Pink
Panteri.

65. Defendant's conduct has caused Plaintiffs to sustain money
damages, including but not limited to, loss of revenue, diminution of

_the value of Pink Hanteri, and other money damagesir

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66. Defendant has been unjustly enriched by its wrongful use of
Plaintiffs’ Pink Panteri and infringements of Plaintiffs copyrights in
an amount to be determined based on information to be provided by
Defendant.

67. Defendant's wrongful conduct has also caused Plaintiffs to
sustain irreparable injury for which Plaintiffs have no adequate

remedy at law.

Count II

(COPYRIGHT INFRINGEMENT IN VIOLATION OF THE
FORElGN COPYRIGHT LAWS)

68. Plaintiffs repeat and reallege all of the prior
allegations.

69. Plaintiffs copyright protected Pink Panteri is protected
under Foreign Copyright Laws of countries that are signatories to the
Berne Convention.

70. Defendant's actions of broadcasting copies of Plaintiffs'
copyright protected Pink Panteri on the Vice-Foreign Channels and
elsewhere around the globe, without Plaintiffs’ authorization or
consent, constitutes copyright infringement under the Foreign
Copyright Laws, entitling Plaintiffs to injunctive relief and money
damages under the Foreign Copyright Laws.

?l. Defendant's actions of copying and broadcasting copies of
Plaintiffs' copyright protected Pink Panteri without Plaintiffs'
authorization or consent is being done knowingly and willfully, with

the intent to wrongfully benefit from the labor and intellectual

capital that Plaintiffs invested in the creation of_Pinkaanteri.

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72. Defendant's conduct has caused Plaintiffs to sustain money
damages, including but not limited to, the loss of revenue, diminution
of the value of Pink Panteriand other damages.

73. Defendant has been unjustly enriched by their wrongful use
of portions of Plaintiffs' copyright protected Pink Panteri in an
amount to be determined.

74. Defendant's wrongful conduct in copying and broadcasting
the Vice Movie containing portions of Plaintiffs’ copyright protect
Pink Panteri has also caused Plaintiffs to sustain irreparable injury

for which Plaintiffs have no adequate remedy at law.

WHEREFORE, Plaintiff demands judgment against all Defendants, jointly
and severally, awarding them:

A, lnjunctive relief granting the issuance of an order directing
defendant to immediately cease broadcast of the Vice Movie and the Vice
Reports Trailer,and requiring defendant to refrain from such conduct in
the future;

B. Compensatory damages, including but not limited to all damages for
loss of revenue, damage to reputation and goodwill, and other losses
resulting from the unlawful actions of defendant;

C. Punitive damages for the extreme,r outrageous, and willful conduct of
defendant;

D. All costs of suit, including reasonable attorneys’ fees;

F. Any and all such other relief deemed_equitable and just by this Court,
as provided by law.

Dated: November 24, 2017
New York, New York
Lebowitz Law Office, LLC

By: /S/ Marc A. Lebowitz
Marc A. Lebowitz (ML 7381)
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